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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

Civil Action No.: 1:18-cv-03322-STV

CLIFFORD L. EDWARDS,

                Plaintiff,

v.

BC SERVICES, INC.,

                Defendant(s).



                   PLAINTIFF’S PROPOSED VOIR DIRE QUESTIONS




Jurors Knowledge Of Judge, Parties, Witnesses And Counsel

1. Do you know or have any relationship with the Judge in this case?


2. Do you know or have any relationship with the parties in this case – Clifford L.

     Edwards and BC Services, Inc.?


3. Do you know or have any relationship with Plaintiff’s attorneys or their law firm in this

     case – Nathan Charles Volheim, Taxiarchis Hatzidimitriadis, Marwan Rocco Daher,

     or the Sulaiman Law Group, Ltd.?


4. Do you know or have any relationship with Defendant’s attorneys or their law firm in

     this case – Irvin Allen Borenstein or Borenstein & Associates, LLC?


5. Do you have any knowledge regarding this case other than what you have been told

     here today?
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6. Do you have any knowledge or experience with the Fair Debt Collection Practices

   Act?


7. Do any of you have any personal knowledge of this case, or have you read or heard

   it discussed, or have an opinion regarding it?


Jurors’ Involvement With The Legal System


1. Have you ever been involved in a civil lawsuit as an individual or a company

   either as a Plaintiff or as a Defendant?

2. What was the case about?


3. Why and how were you involved in the case?


4. Were you the Plaintiff or the Defendant in the case?


5. What are your thoughts on the litigation process? Do you think it was fair?


6. Do you think the litigation process resulted in a fair result in your case?


7. Have you ever served on a jury before? Civil or criminal case?


8. Have you ever served as a jury foreperson?


9. Did the jury you served on reach a verdict?


10. Do you understand that you must listen to all the evidence before reaching

   a conclusion regarding this case?


11. Do you understand that you must follow the law the Judge will instruct you on, even
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   if you disagree with the law as instructed by the Judge?


12. Have any of you been sued for a past-due debt?


13. Have any of you sued a debt collection company?


Jurors Education History


1. What level of education have you received? High School? College? Masters or other

   advanced degree?


2. Area of study and type of training received?


Jurors Occupation


1. What is your current occupation and previous occupations, and if you are retired,

   what are your former occupations?


2. Have you or anyone in your family ever worked in the collection industry or for any

   credit bureaus? Explain.


3. What are / were your job title(s) and job duty(s) at your current / former job?


4. What is your spouse’s current occupation and previous occupations, and if they are

   retired, what are their former occupations?


5. What are / were their job title(s) and job duty(s)?


6. Are they currently or have they ever been responsible for managing / supervising

   other employee(s)? In what way do they manage or supervise employees?
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7. Have you or anyone you know applied for or worked BC Services, Inc., or any other

   collection agency or any credit bureau?


8. What was the name of the collection agency or credit bureau?


9. What position was applied for and/or held?


10. Did you or anyone you know resign from their employment with BC Services, Inc., or

   any other collection agency or credit bureau? If so, why?


11. Were you or anyone you know terminated from their employment with BC Services,

   Inc., or any other collection agency or credit bureau? If so, why?


12. Do you currently own your own business? What type of business? For how long?


13. How many employee(s) do you have in your business?


14. Do you monitor your employee(s) to make sure they are following their training

   and/or your companies policies and/or procedures?


Experience With The Collection Industry


1. Have you or your spouse and/or children ever had an account in collections?


2. Have you had a good experience or a bad experience with the collection industry?

   Tell me about what happened?


3. How were you / they treated by the collection industry?


4. This lawsuit is being brought by an individual against a debt collection company.
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   Knowing only that, would any of you favor the individual over the debt collector?


5. What words come to mind when describing a debt collector?


6. Do any of you have any feelings or preconceptions about debt collection companies?


7. Have any of you, or anyone close to you, had a negative experience with a debt

   collection company? Explain.


8. Have any of you ever been contacted by a debt collector or collection company?

   How were you treated?


9. Have any of you ever received a phone call from a company attempting to collect on

   a past due balance?


10. Have any of you ever disputed a balance that a company claimed you owed?


11. Have any of you reviewed or participated in any internet debt advice groups or

   message boards?


12. Have any of you filed a complaint with a government agency or the Better Business

   Bureau regarding a debt collection company?


13. Do any of you believe that people should not have to repay their financial debts or

   that debts should be forgiven?


14. Have any of you conducted internet research on debt collection companies?


15. Would any of you consider working for a debt collection company?
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16. Did the company call you after you advised that the company was calling the wrong

   number? How did it make you feel?


Burden of Proof / Damages / Impartiality


1. Is there anything that would prevent you from being fair and impartial to the Plaintiff

   and the Defendant in this case?


2. Do you have a bias toward either the Plaintiff or the Defendant in this case? Who?

   Why?


3. Can you be fair and impartial to the Plaintiff and the Defendant in this case?


4. Preponderance of the evidence means proof which leads the jury to find that the

   existence of the contested fact is more probable than not. Are any of you unable to

   require that the Plaintiff prove the allegations against defendant by a preponderance

   of the evidence?

5. Do any of you believe that Defendant should have to prove that it is not liable to

   Plaintiff?

6. A juror’s duty is to listen to all the evidence and only then, after hearing all the parties

   present their case, make up your mind about the claims. Do you commit to listen to all

   of the evidence and not reach a conclusion until you have reviewed all of the

   evidence?

7. Do you commit to follow the law as instructed by the judge, even if you personally

   disagree with the law?

8. Is there anything about the nature of this case that would make it difficult for any of
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   you to be a fair and impartial juror in this case?

9. Do any of you have any concern that you cannot be fair and impartial to a debt

   collection company?

10. Is there anything that we have talked about that would prevent any of you from being

   fair and impartial to both sides in this case?

11. Do any of you have any opinion of the legal system that may interfere in your ability

   to be a fair and impartial juror in this case?
